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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


JAMES ANAQUAD KLEINERT,

               Plaintiff,

       v.                                                Civil Action No. 24-0934 (TSC)

BUREAU OF LAND MANAGEMENT,

               Defendant.


                                  JOINT STATUS REPORT

       James Anaquad Kleinert (“Plaintiff”) and the United States Bureau of Land Management

(“Defendant”), through undersigned counsel, file this joint status report in accordance with the

Court’s June 14, 2024, Minute Order.

       This is a case under the Freedom of Information Act, 5 U.S.C. § 552. Defendant has

produced 25 pages of responsive records to date. The parties are conferring as to remaining

substantive issues in this litigation, including agency follow-up actions, additional searches, and

to further discuss the parties’ objections to withholdings for Plaintiff’s September 9, 2022 FOIA

request. Defendant is planning on drafting a declaration, which it will provide to Plaintiff by

Friday, September 27, 2024, detailing what it has done to process Plaintiff’s request.

       The parties will file another joint status report by Wednesday, October 16, 2024, in

accordance with the Court’s June 14, 2024, Minute Order.



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Date: August 7, 2024                    Respectfully submitted,

/s/ Maya Kane                           MATTHEW M. GRAVES, D.C. Bar # 481052
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